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                                           AUSA:             Filed 03/10/25 Telephone:
                                                    Eaton Brown              Page 1 of(313)
                                                                                        11 226-9100
AO 91 (Rev. 11/11) Criminal Complaint            Special Agent:         Andrew Matas, FBI             Telephone: (313) 965-2323

                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                Eastern District of Michigan
                                                                                     Case: 2:25−mj−30125
United States of America                                                             Assigned To : Unassigned
   v.
                                                                                     Assign. Date : 3/10/2025
SERINA BAKER HILL                                                        Case No.    Description: RE: SEALED MATTER
                                                                                     (EOB)




                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of               March - May 2024              in the county of                Wayne      in the
       Eastern           District of       Michigan       , the defendant(s) violated:
                  Code Section                                           Offense Description
18 U.S.C. § 1343                                      Wire Fraud.
18 U.S.C. § 1001                                      False Statements.
                                                      Fraud in Connection with Major Disaster or Emergency Benefits.
18 U.S.C. § 1040




         This criminal complaint is based on these facts:

See Attached Affidavit.




     Continued on the attached sheet.
                                                                                         Complainant’s signature

                                                                     Andrew J. Matas, Special Agent
                                                                                          Printed name and title
Sworn to before me and signed in my presence
and/or by reliable electronic means.


Date: March 10, 2025                                                                        Judge’s signature

City and state: Detroit, MI                                          Honorable David R. Grand
                                                                                          Printed name and title

                                                                                                                    Save   Print
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           AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

      I, Andrew J. Matas, being duly sworn, state as follows:


   YOUR AFFIANT’S BACKGROUND, TRAINING AND EXPERIENCE

      1.      I am a Special Agent with the Federal Bureau of Investigation (FBI)

and have been so employed since January 2005. I am currently assigned to the

Public Corruption and Government Fraud squad in the Detroit Division of the FBI.

As a Special Agent, I have investigated crimes including the corruption of state

and local officials, narcotics trafficking, gangs, racketeering, and other violations.

During these investigations, I have been the affiant on search warrants for

residences, social media accounts and electronic mail (e-mail) accounts. I have also

conducted investigations using consensual recordings, undercover operations, Title

III wiretaps and techniques authorized under the Foreign Intelligence Surveillance

Act (FISA).

                            PURPOSE OF AFFIDAVIT

      2.      This affidavit is submitted in support of a criminal complaint for

SERINA BAKER HILL (HILL), date of birth 05/XX/1969, for violating 18 U.S.C.

§ 1343 (Wire Fraud), 18 U.S.C. § 1001 (False Statements), and 18 U.S.C. § 1040

(Fraud in Connection with Major Disaster or Emergency Benefits). Based on the

facts set forth in this affidavit, there is probable cause to believe that HILL

committed the crimes of wire fraud, false statements, fraud in connection with

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major disaster or emergency benefits, and other federal crimes. Specifically, that

HILL devised or knowingly participated in a scheme to defraud in order to deprive

another of money or property, i.e., Federal Emergency Management Agency

(FEMA) benefits. There is probable cause that the scheme included a material

misrepresentation or concealment of a material fact; HILL had the intent to

defraud; and HILL used wire communications or caused another to use wire

communications in interstate commerce in furtherance of the scheme. Further,

there is probable cause that HILL made a materially false representation to

investigating agents regarding her fraud.

      3.     The information contained in this affidavit is based upon my personal

knowledge obtained through participating in this investigation as well as

information I received from Federal Grand Jury subpoenas, the interception of wire

communications pursuant to 18 U.S.C. § 2516, search warrants and interviews.

      4.     Since this affidavit is being submitted for the limited purpose of

establishing probable cause that HILL violated 18 U.S.C. § 1343 (Wire Fraud), 18

U.S.C. 1001 (False Statements) and 18 U.S.C. § 1040 (Fraud in Connection with

Major Disaster or Emergency Benefits), I have not included each and every fact

known to me concerning this investigation.

                    BACKGROUND ON INVESTIGATION

      5.     The FBI is investigating Maurice Hill (Maurice) and others for


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narcotics trafficking and other offenses. Over the course of the investigation, the

FBI obtained authority to intercept wire and/or electronic communications

pursuant to 18 U.S.C. § 2516, has executed multiple search warrants, has

conducted multiple interviews and has engaged in other investigative techniques.

       6.    Maurice is married to SERINA BAKER HILL. Due to HILL’S

employment as the Director of United States Customs and Border Protection’s

(CBP) Center for Excellence and Expertise over Automotive and Aerospace

Engineering, a concurrent investigation was opened by your affiant to investigate

her involvement with Maurice’s narcotics trafficking and HILL was listed as an

interceptee on the wiretap application and order.

       7.    During the course of the investigations, it was discovered that both

HILL and Maurice had engaged in a scheme to defraud FEMA after flooding

occurred in Detroit, Michigan on August 24, 2023. The scheme was reported to

Department of Homeland Security Office of Inspector General (DHS-OIG), which

assisted FBI with further investigating the FEMA fraud.

                               PROBABLE CAUSE

A.     Background on FEMA Disaster Relief Program and Declaration of

Disaster for August 2023 Flooding

       8.    FEMA was created via executive order in 1979. Its powers were

further defined by the Disaster Relief and Emergency Assistance Amendments of


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1988, which amended the Disaster Relief Act, renamed it the Stafford Act, and

which created the current statutory framework for disaster response and recovery.

       9.    Disaster assistance is available from FEMA for qualified victims of

disasters upon a presidential declaration.

       10.   On February 9, 2024, President Biden approved Michigan’s request

for disaster declaration in nine counties that sustained significant flooding during a

storm on August 24, 2023. That declaration allowed residents of those nine

counties to apply for FEMA assistance.

B.     HILL’S Application for Relief and Intent to Commit Fraud

       11.   On or about March 14, 2024, Maurice submitted an application for

disaster assistance for a residence located at 135xx Monte Vista Drive in Detroit,

Michigan.

       12.    On or about April 2, 2024, HILL submitted an application for disaster

assistance for a residence located at 180xx Oak Drive in Detroit, Michigan

       13.   Maurice and HILL cohabitate at 180xx Oak in Detroit, Michigan.

They also own the Monte Vista residence.

       14.   Maurice made a claim for assistance for the Monte Vista residence

address, claiming it was his primary residence. Because investigation by DHS-OIG

revealed that the Oak address was Maurice’s primary residence, Maurice’s claim

was flagged as indicating fraud.


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      15.    HILL submitted an application for the Oak Drive address, claiming it

was her primary residence and that it was damaged in the flood.

      16.    On or about April 5, 2024, HILL’s home ownership and primary

residence status was verified by a FEMA inspector.

      17.    On or about April 6, 2024, a FEMA inspector determined that there

was damage to the Oak Drive basement, including concrete floors and drywall.

The inspector also had a conversation with HILL in which HILL told the inspector

that she was not able to safely live in the home while repairs were being made.

      18.    On or about April 8, 2024, FEMA sent a letter to HILL informing

HILL that her FEMA assistance had been approved. HILL was approved for

$3,125.24 to repair her home and $3,190 for two months of rental assistance.

      19.    The rental assistance was provided based on HILL’s representation

that she could not safely live in her home while repairs were being made.

      20.    Pursuant to the April 8, 2024 approval letter, the rental assistance

money was to be used solely to help HILL pay rent and essential utility costs (not

including telephone, cable, television and internet service) while HILL was in

temporary housing. The letter further explained that up to half of the rental

assistance amount could be used to pay a security deposit.

      21.    On or about April 8, 2024, a total of $6,315.24 was electronically

transferred via the Automated Clearing House Network (ACH) from FEMA and


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deposited into HILL’s bank account.

      22.    On or about April 8, 2024, during an intercepted telephone

conversation, HILL and Maurice discussed the FEMA payment. The pertinent

portion of that conversation follows:

             HILL: And they approved us for six.

             Maurice: Thousand?

             HILL: Mm-hmm.

             Maurice: Oh. Congratulations.

             HILL: But its not in our account yet. I just got the email.

             Maurice: Oh shit.

             HILL: So, figure out what you want to do or need.

             Maurice: Some Gucci’s…nah. (laughs)

             HILL: You’re older than that now. Ok.

             Maurice: Alright, well they probably want you to fix something.

             HILL: Is that how it works?

             Maurice: Mm-hmm.

             HILL: Fix something?

             Maurice: You said six thousand, right?

             HILL: Mm-hmm.

             Maurice: Yeah, I’m saying they going to want you to fix something.


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             They going to figure out what they gave to you for.

             HILL: Well, this was for rental assistance.

             Maurice: You say rental?

             HILL: Mm-hmm. The (unintelligible) was for home.

             Maurice: Mm-hmm.

             HILL: So, I guess he said that I had to leave the house.

      23.    On or about April 8, 2024, during a subsequent intercepted telephone

conversation, Maurice and HILL discussed crafting a letter, purporting to be from

an HVAC inspector, to obtain additional money from FEMA for a new HVAC

unit. The pertinent portion of that conversation follows:

             HILL: Hey.

             Maurice: Hey.

             HILL: I read the letter they submitted with the (unintelligible) form

             and it said for home repair, the inspector was unable to certify if there

             was additional damage caused by the flood. So, that money is to pay

             for an inspector to see if we need a new one or if repairs are needed.

             And then I think the inspector gives us a cost estimate and then we

             submit it to FEMA to see if they’ll pay for a new one or whatever the

             inspection says.

             Maurice: So, we have to pay for an inspector?


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             HILL: With the money they gave.

             Maurice: What type of inspector?

             HILL: (Unintelligible) um, HVAC.

             Maurice: Oh, that’s easy. Okay. I just got to get somebody to write a

             letter to say it’s okay.

             HILL: I’ll tell you exactly what they need.

             Maurice: Okay.

             HILL: Tell them it’s okay?? We don’t want it to be okay. We want

             them to have issues so they (unintelligible).

             Maurice: Yeah, okay.



      24.    A review of the bank account into which the $6,315.24 was deposited

reveals that none of the FEMA money was subsequently used for rental, hotel, or

utility expenses.

      25.    Video surveillance of the Oak Drive address shows both Maurice and

HILL continuing to live at the residence both in the time period immediately after

the flood as well as the time period after they received the assistance amount from

FEMA.

      26.    Utility records for Oak Drive show no significant drop in utilities after

the flood which would indicate that the property was uninhabited for any sustained


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period of time.



C.    Interview of Hill and False Statements

      27.    On May 20, 2024, your affiant and an FBI Task Force Officer with

CBP’s Office of Professional Responsibility interviewed HILL.

      28.    Prior to HILL providing any information to the interviewing agents,

she was advised of 18 U.S.C § 1001, and was further advised that providing

materially false, fictitious, or fraudulent statements or representations to federal

agents was a crime.

      29.    During the interview, HILL told the interviewing agents that she has

never conducted any illegal activity of any kind and that specifically, she had never

defrauded the United States Government.



                                   CONCLUSION

      30.    Based on the foregoing information, there is probable cause to believe

that HILL violated 18 U.S.C. § 1343 (Wire Fraud) and 18 U.S.C. § 1001 (False

Statements), and18 U.S.C. § 1040 (Fraud in Connection with Major Disaster or

Emergency Benefits).




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                                 Respectfully Submitted,


                                 __________________________
                                 Special Agent Andrew J. Matas
                                 Federal Bureau of Investigation


Sworn to before me and signed in my presence
and/or by reliable electronic means.


____________________________
The Honorable David R. Grand
United States Magistrate Judge

Dated: March 10, 2025




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